July 3, 2022

To the Honorable Judge Waverly D. Crenshaw
Middle District of Tennessee

Dear Honorable Judge Crenshaw,

My name is Maria Williams, I am Georgianna’s mother. I am 72 years old and I
have been taking care of my granddaughter, Georgianna’s daughter, since
Georgianna was arrested. I miss Georgianna very much. She took care of me, she
took care of the house, she ran all of the errands, she worked hard. I am old and I
need care, right now I also have Covid-19. I am hoping to recover in time for
Georgianna’s hearing, but if I am not better by that time, that is the only reason I

would miss it.

I would like to tell you about the kind of girl of my daughter is. I raised my kids as
best I could, I made sure Georgianna went to school and got her education. Her
father left us when she was young, and he disowned her, which was a terrible thing

for a father to do. But I tried to be everything for the family when she was young.
Georgianna’s step father could be strict and harsh with her, but when he got sick

and injured himself falling down the stairs Georgianna is the one who called the
hospital and took care of him. She would wake up in the middle of the night to turn

him and help him.

In 2016, I had open heart surgery, I also had two aneurysms. Georgianna took
wonderful care of me. She came and stayed with me in the hospital for the 10 days
that I was there. She helped me, made sure I took my medications, got them
refilled on time and helped me manage all of my medical appointments and care. |
depended on her and I really need her back home to help me now, the last three
years have been so hard for me and Keala.

Georgianna would keep my house spotless, she knew I liked a tidy home and she
would keep my yard in good condition too. When she left I was by myself. 1 am
doing my best to take care of my granddaughter, but Keala needs her mother.

Case 2:19-cr-00013 Document 425-1 Filed 07/06/22 Page 1 of 3 PagelD #: 5454
Keala has been through a lot with Georgianna’s arrest. She sees a therapist now
and I worry a lot about her. I am trying to do everything I can but she needs her
mother, and I need Georgianna at home to help me.

Georgianna loved her family very much, she loved her work. She went to school
for so long and she worked a lot of jobs, but she loved being a therapist and social
worker, she is very good at taking care of people.

I wish I could fix everything that has happened for Georgianna and my grandkids,
but I don’t know how. I am doing my best and I am praying and hoping that
Georgianna will come home soon. She had just gotten a raise when she was
arrested, things were going better for us.

I have always been afraid of flying, it terrifies me. I am also not a good driver and I
can’t drive very far, even driving into town is hard for me. Georgianna did all of
that, she would drive me where I needed to go and would run all of the errands for
the house. A few years ago I got a call from my sister in New York telling me that
my mother (Georgianna’s grandmother) was dying and that I needed to go visit
right away. I was very emotional and upset because I had no way to go there. I
called Georgianna at work and she came home, got a rental car, and she drove me
all the way to New York in time for me to say goodbye to my mother before she

passed away.

Every day is so hard for us. I spent all of my money on paying for a lawyer in

Tennessee for Georgianna’s case, this is the most important thing in the world for
us. I was able to get other legal help for Georgianna. We really need her at home,
she is all I have and I need her here to take care of me and so that Keala can have

her mother back.

I know Georgianna has plead guilty to concealing resources that were to be sent to
a terrorist organization. I know my daughter can be naive, but she has a very good
heart. She would never mean to ever hurt anyone. She just tries to take care of

people.

Your Honor, please remember us when you are deciding what will happen to
Georgianna and please give her as low a sentence as you possibly can.

Thank you very much for reading my letter.

Sincerely,

Case 2:19-cr-00013 Document 425-1 Filed 07/06/22 Page 2 of 3 PagelD #: 5455
Maria Williams

 

 

 
